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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


  Civil Action No. __________________________



  KATHRYN ANGUS, individually, and on behalf of all others similarly situated
         Plaintiff,
  v.

  L & M HS LLC;
  L & M OPERATIONS LLC
  LELAND & MICHAEL HEALTH SERVICES LLC
  FRANCIS LEGASSE, individually, and in his official corporate capacity; and
  BRIAN TURNER, individually, and in his official corporate capacity,
         Defendants.



       COLLECTIVE ACTION COMPLAINT PURSUANT TO 29 U.S.C. § 201, et seq.
                           (Demand for Jury Trial)



         Plaintiff, Kathryn Angus (“Plaintiff”), individually, and on behalf of all other

  persons similarly situated who are Companion/Homemakers, Home Health Aides, and

  Certified Nurse’s Aides (“CNAs”) employed by Defendants (“Collective Members”)

  (collectively “Plaintiffs”), sues the Defendants, L & M HS LLC; L & M Operations LLC;

  Leland & Michael Health Services LLC; Francis LeGasse; and Brian Turner (collectively

  “Defendants”) and alleges as follows:
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                                PRELIMINARY STATEMENT

         1.     This lawsuit arises under the Fair Labor Standards Act (“FLSA”), 29

  U.S.C. § 201, et seq., for Defendants’ failure to pay Plaintiff and other similarly-situated

  employees all earned overtime wages.

         2.     Plaintiff and the Collective Members are current and former employees of

  Defendants. Plaintiff brings this action on behalf of herself and all similarly-situated

  current and former healthcare providers of Defendants who Defendants misclassified as

  exempt from overtime under the FLSA or who otherwise were not paid one-and-one-half

  times their regular rates of pay for all time worked in excess of 40 hours in a given

  workweek.

         3.     The Collective Members are all current and former

  Companion/Homemakers, Home Health Aides, and Certified Nurse’s Aides (“CNAs”)

  who were employed by Defendants at any time starting three years before this

  Complaint was filed, up to the present.

         4.     Under the FLSA, employers must pay all non-exempt employees an

  overtime wage premium of one and one-half times their regular rates of pay for all time

  they spend working in excess of 40 hours in a given workweek. Defendants failed to

  pay Plaintiffs one and one-half times their regular rates of pay for all time they spent

  working in excess of 40 hours in a given workweek. Plaintiffs therefore bring this

  Collective Action Complaint pursuant to 29 U.S.C. § 216(b) for Defendants’ violation of

  federal law as detailed further below.

                                JURISDICTION AND VENUE




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          5.      Plaintiff realleges and incorporates by reference all allegations in all

  preceding paragraphs.

          6.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331

  and 29 U.S.C. § 201, et seq. because this civil action arises under the laws of the

  United States.

          7.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(ii) because

  acts giving rise to the claims of Plaintiff and the Collective Members occurred within the

  District of Colorado, and Defendants regularly conduct business in and have engaged in

  the wrongful conduct alleged herein – and, thus, are subject to personal jurisdiction in –

  this judicial district.

                                             PARTIES

          8.      Plaintiff realleges and incorporates by reference all allegations in all

  preceding paragraphs.

          9.      Plaintiff is an individual residing in Denver County, Colorado, and is a

  former employee of Defendants.

          10.     At all relevant times, Plaintiff was employed by Defendants as a Home

  Health Aide from approximately October 2017 to approximately May 2018.

          11.     At all material times, Plaintiff has been paid by Defendants at either an

  hourly rate of $12.50 or a flat daily rate.

          12.     At all material times, Plaintiff was an employee of Defendants as defined

  in 29 U.S.C. § 203(e)(1) and was a non-exempt employee under 29 U.S.C. § 213(a)(1).




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         13.    Plaintiff has given her written consent to be a Representative Plaintiff in

  this action pursuant to 29 U.S.C. § 216(b), a true and accurate copy of which is

  appended hereto as Exhibit A.

         14.    At all material times, Defendant L & M HS LLC has been a limited liability

  company duly licensed to transact business in the State of Colorado.

         15.    Defendant L & M HS LLC does business, has offices, and maintains

  agents for the transaction of its customary business in Denver County, Colorado.

         16.    At all material times, Defendant L & M HS LLC is Plaintiff’s and the

  Collective Members’ “employer,” as defined by the FLSA. 29 U.S.C. § 203(d).

         17.    Under the FLSA, Defendant L & M HS LLC is an employer. The FLSA

  defines “employer” as any person who acts directly or indirectly in the interest of an

  employer in relation to an employee. At all relevant times, Defendant L & M HS LLC

  has had the authority to hire and fire employees, supervised and controlled work

  schedules or the conditions of employment, determined the rate and method of

  payment, and maintained employment records in connection with Plaintiff’s and the

  Collective Members’ employment with Defendants. Having acted in the interest of

  Defendants in relation to the company’s employees, including Plaintiff and the Collective

  Members, Defendant L & M HS LLC is subject to liability under the FLSA.

         18.    At all material times, Defendant L & M Operations LLC has been a limited

  liability company duly licensed to transact business in the State of Colorado.




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          19.   Defendant L & M Operations LLC does business, has offices, and

  maintains agents for the transaction of its customary business in Denver County,

  Colorado.

          20.   At all material times, Defendant L & M Operations LLC is Plaintiff’s and the

  Collective Members’ “employer,” as defined by the FLSA. 29 U.S.C. § 203(d).

          21.   Under the FLSA, Defendant L & M Operations LLC is an employer. The

  FLSA defines “employer” as any person who acts directly or indirectly in the interest of

  an employer in relation to an employee. At all relevant times, Defendant L & M

  Operations LLC has had the authority to hire and fire employees, supervised and

  controlled work schedules or the conditions of employment, determined the rate and

  method of payment, and maintained employment records in connection with Plaintiff’s

  and the Collective Members’ employment with Defendants. Having acted in the interest

  of Defendants in relation to the company’s employees, including Plaintiff and the

  Collective Members, Defendant L & M Operations LLC is subject to liability under the

  FLSA.

          22.   At all material times, Defendant Leland & Michael Health Services LLC

  has been a limited liability company duly licensed to transact business in the State of

  Colorado.

          23.   Defendant Leland & Michael Health Services LLC does business, has

  offices, and maintains agents for the transaction of its customary business in Denver

  County, Colorado.




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         24.    At all material times, Defendant Leland & Michael Health Services LLC is

  Plaintiff’s and the Collective Members’ “employer,” as defined by the FLSA. 29 U.S.C. §

  203(d).

         25.    Under the FLSA, Defendant Leland & Michael Health Services LLC is an

  employer. The FLSA defines “employer” as any person who acts directly or indirectly in

  the interest of an employer in relation to an employee. At all relevant times, Defendant

  Leland & Michael Health Services LLC has had the authority to hire and fire employees,

  supervised and controlled work schedules or the conditions of employment, determined

  the rate and method of payment, and maintained employment records in connection

  with Plaintiff’s and the Collective Members’ employment with Defendants. Having acted

  in the interest of Defendants in relation to the company’s employees, including Plaintiff

  and the Collective Members, Defendant Leland & Michael Health Services LLC is

  subject to liability under the FLSA.

         26.    At all material times, Defendant Francis LeGasse is Plaintiff’s and the

  Collective Members’ “employer,” as defined by the FLSA. 29 U.S.C. § 203(d).

         27.    Under the FLSA, Defendant Francis LeGasse is an employer. The FLSA

  defines “employer” as any person who acts directly or indirectly in the interest of an

  employer in relation to an employee. At all relevant times, Defendant Francis LeGasse

  has had the authority to hire and fire employees, supervised and controlled work

  schedules or the conditions of employment, determined the rate and method of

  payment, and maintained employment records in connection with Plaintiff’s and the

  Collective Members’ employment with Defendants. Having acted in the interest of




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  Defendants in relation to the company’s employees, including Plaintiff, Defendant

  Francis LeGasse is subject to liability under the FLSA.

         28.    At all material times, Defendant Brian Turner is Plaintiff’s and the

  Collective Members’ “employer,” as defined by the FLSA. 29 U.S.C. § 203(d).

         29.    Under the FLSA, Defendant Brian Turner is an employer. The FLSA

  defines “employer” as any person who acts directly or indirectly in the interest of an

  employer in relation to an employee. At all relevant times, Defendant Brian Turner has

  had the authority to hire and fire employees, supervised and controlled work schedules

  or the conditions of employment, determined the rate and method of payment, and

  maintained employment records in connection with Plaintiff’s and the Collective

  Members’ employment with Defendants. Having acted in the interest of Defendants in

  relation to the company’s employees, including Plaintiff, Defendant Brian Turner is

  subject to liability under the FLSA.

         30.    Plaintiff is further informed, believes, and therefore alleges that each of the

  Defendants gave consent to, ratified, and authorized the acts of all other Defendants, as

  alleged in this Complaint.

         31.    Defendants, and each of them, are sued in both their individual and

  corporate capacities.

         32.    Defendants are jointly and severally liable for the injuries and damages

  sustained by Plaintiff and the Collective Members.

         33.    At all relevant times, Plaintiff and the Collective Members were

  “employees” of Defendants as defined by the FLSA, 29 U.S.C. § 201, et seq.




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        34.     The provisions set forth in the FLSA, 29 U.S.C. § 201, et seq., apply to

  Defendants.

        35.     At all relevant times, Defendants were and continue to be “employers” as

  defined by FLSA, 29 U.S.C. § 201, et seq.

        36.     Defendants individually and/or through an enterprise or agent, directed

  and exercised control over Plaintiff’s and the Collective Members’ work and wages at all

  relevant times.

        37.     At all relevant times, Plaintiff and the Collective Members, in their work for

  Defendants, were engaged in commerce or the production of goods for commerce.

        38.     At all relevant times, Plaintiff and the Collective Members, in their work for

  Defendants, were employed by an enterprise engaged in commerce that had annual

  gross sales or receipts of at least $500,000.

        39.     At all relevant times, all Defendants were horizontal joint employers of

  Plaintiff and the Collective Members. At all relevant times: (1) Defendants were not

  completely disassociated with respect to the employment of Plaintiff and the Collective

  Members; and (2) Defendants were under common control. In any event, at all relevant

  times, Defendants were joint employers under the FLSA and 29 C.F.R. § 791.2(b) and

  employed Plaintiff and the Collective Members.

                                  STATEMENT OF FACTS

        40.     Plaintiff realleges and incorporates by reference all allegations in all

  preceding paragraphs.




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         41.    Defendants own and/or operate as Sevens Home Care, an enterprise

  located in Denver County, Colorado.

         42.    Sevens Home Care is a company headquartered in Denver, Colorado,

  that offers in-home healthcare services to individuals in need of such services.

         43.    In October 2017, Plaintiff began her employment with Defendants as a

  Home Health Aide, performing in-home companionship services for Defendants’ clients.

         44.    In her work for Defendants, Plaintiff’s job duties included, but were not

  limited to, caring for clients in their homes, cooking meals for them, ensuring they took

  their medications, getting their groceries, helping them with incontinence, changing

  bedsheets, helping them eat, and bathing them.

         45.    At all relevant times during her employment, Defendants paid Plaintiff on

  an hourly basis at a rate of $12.50 or a flat daily rate, regardless of the number of hours

  she worked in week.

         46.    Plaintiff regularly worked approximately 50 hours per week in her

  employment with Defendants. At no time did Plaintiff receive one and one-half times

  her regular rate of pay for time worked in excess of 40 hours in a given workweek.

         47.    At times, the hours Plaintiff worked for Defendants substantially exceeded

  50 hours in a given workweek. Nonetheless, Defendants did not pay overtime for such

  time that exceeded 40 hours.

         48.    At all relevant times, the Collective Members likewise have worked in

  excess of 40 hours in a given workweek without receiving one and one-half times their

  regular rates of pay.




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          49.    In their work for Defendants, Plaintiff and the Collective Members were

   non-exempt employees.

          50.    In their work for Defendants, Plaintiff and the Collective Members did not

   have the authority to hire or fire other employees, nor were their suggestions or

   recommendations as to the hiring, firing, advancement, promotion, or any other change

   in status of other employees given particular weight.

          51.    In their work for Defendants, Plaintiff and the Collective Members’ primary

   duty was not the performance of office or non-manual work directly related to the

   management or general business operations of Defendants’ customers.

          52.    In their work for Defendants, Plaintiff and the Collective Members’ primary

   duty did not include the exercise of discretion and independent judgment with respect to

   matters of significance.

          53.    Defendants engaged in the regular practice of willfully failing to pay

   Plaintiff and the Collective Members one-and-one-half times their regular rates of pay

   for all time that they suffered or permitted Plaintiffs to work in excess of forty (40) hours

   per workweek.

          54.    As a result of Defendants’ willful failure to pay Plaintiff and the Collective

   Members one-and-one-half times their regular rates of pay for all work in excess of forty

   (40) hours per workweek, Defendants paid Plaintiffs less than the applicable overtime

   wage rate for such work that Plaintiffs performed in excess of forty (40) hours per

   workweek.




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          55.    Defendants engaged in the regular practice of failing to accurately, if at all,

   record the time during which Defendants suffered or permitted Plaintiff and the

   Collective Members to work. As such, Plaintiffs’ time records understate the duration of

   time each workweek that Defendants suffered or permitted Plaintiffs to work.

          56.    As a result of Defendants’ willful failure to compensate Plaintiff and the

   Collective Members the applicable overtime wage rate for such hours worked,

   Defendants have violated 29 U.S.C. § 207(a).

          57.    Defendants knew that – or acted with reckless disregard as to whether –

   their failure to pay to Plaintiff and the Collective Members one-and-one-half times their

   regular rates of pay for all work in excess of forty (40) hours per workweek, would

   violate federal law, and Defendants were aware of the FLSA overtime wage

   requirements during Plaintiff’s and the Collective Members’ employment. As such,

   Defendants’ conduct constitutes a willful violation of the FLSA.

          58.    Defendants have and continue to willfully violate the FLSA by not paying

   Plaintiff and the Collective Members one-and-one-half times their regular rates of pay

   for all time worked in excess of forty (40) hours per workweek.

                         FLSA COLLECTIVE ACTION ALLEGATIONS

          59.    Plaintiff realleges and incorporates by reference all allegations in all

   preceding paragraphs.

          60.    Plaintiff brings the FLSA claims in this action as a collective action under

   29 U.S.C. § 216(b).




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          61.     Plaintiff asserts those claims on behalf of herself, and on behalf of all

   similarly situated employees employed by Defendants, who were not paid all

   compensation required by the FLSA during the relevant time period as a result of

   Defendants’ compensation policies and practices.

          62.     Plaintiff brings this action pursuant to 29 U.S.C. § 216(b) on her own

   behalf and as a representative of the similarly situated Collective Members who are

   current and former Companion/Homemakers, Home Health Aides, and Certified Nurse’s

   Aides (“CNAs”) who are not or were not paid one-and-one-half times their regular rates

   of pay for all time in excess of forty (40) hours per workweek that Defendants suffered

   or permitted them to work, in violation of pursuant to 29 U.S.C. § 207(a), who agree in

   writing to join this lawsuit seeking recovery under the FLSA.

          63.     At all relevant times, Plaintiff and the Collective Members are and have

   been similarly situated, have had substantially similar job requirements and pay

   provisions, and are and have been subject to Defendants’ decision, policy, plan, and

   common programs, practices, procedures, protocols, routines, and rules of willfully

   failing and refusing to pay and one-and-one-half times Plaintiff and the Collective

   Members’ regular rates of pay for all time in excess of forty (40) hours per workweek

   that Defendants suffered or permitted them to work. Plaintiff’s claims stated herein are

   essentially the same as those of the Collective Members. This action is properly

   maintained as a collective action because in all pertinent aspects the employment

   relationship of individuals similarly situated to Plaintiffs are identical.




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          64.    Plaintiff and the Collective Members worked more than forty (40) hours in

   a given workweek without being compensated at a rate equal to one and one-half their

   regular rates of pay for the hours worked in excess of forty (40) during that workweek.

          65.    Although Defendants permitted and/or required the Collective Members to

   work in excess of forty (40) hours per workweek, Defendants have denied them full

   compensation for their hours worked over forty (40) in a given workweek.

          66.    The Collective Members perform or have performed the same or similar

   work as Plaintiff.

          67.    The Collective Members are employees of Defendants.

          68.    The Collective Members are not exempt from receiving overtime pay.

          69.    The Collective Members are similar to Plaintiff in terms of job title, job

   duties, pay structure, and/or the denial of overtime.

          70.    Defendants’ failure to pay overtime compensation required by the FLSA

   results from generally applicable policies or practices and does not depend on the

   personal circumstances of the Collective Members.

          71.    The experiences of Plaintiff, with respect to her pay, are typical of the

   experiences of the Collective Members.

          72.    The specific job titles or precise job responsibilities of each Collective

   Member does not prevent collective treatment.

          73.    All Collective Members, irrespective of their particular job requirements,

   are entitled to compensation for hours worked in excess of forty (40) during a given

   workweek.




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          74.     Although the exact amount of damages may vary among the Collective

   Members, the damages for the Collective Members can be easily calculated by a simple

   mathematic formula. The claims of all Collective Members arise from a common

   nucleus of facts. Liability is based on a systematic course of wrongful conduct by the

   Defendants that caused harm to all of the Collective Members.

          75.     Plaintiff seeks to notify the following employees of their rights under 29

   U.S.C. § 216(b) to join this action by filing in this Court written notice of their consent to

   join this action:

          All current and former Companion/Homemakers, Home Health Aides, and
          Certified Nurse’s Aides (“CNAs”) who were employed by Defendants at any
          time starting three years before this Complaint was filed, up to the present.


          76.     The FLSA provides for a three-year statute of limitations for causes of

   action arising out of a willful violation of the Act. 29 U.S.C. § 255. As alleged above,

   Plaintiff and similarly situated employees’ claims arise out of Defendants’ willful

   violations of the FLSA. Accordingly, the Court should require appropriate notice of this

   action be given to all such employees employed by Defendants within three years from

   the filing of this Complaint.

          77.     Upon information and belief, Defendants have employed more than 100

   such employees during the period relevant to this action.

          78.     The identities of these employees, as a group, are known only to

   Defendants. Because the numerous members of this collective action are unknown to

   Plaintiff, joinder of each member is not practicable.




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          79.    Because these similarly situated employees are readily identifiable by

   Defendants and may be located through their records, they may be readily notified of

   this action and allowed to opt into it pursuant to 29 U.S.C. § 216(b), for the purpose of

   collectively adjudicating their FLSA claims.

          80.    Collective adjudication is appropriate in this case because the employees

   whom Plaintiff wishes to notify of this action have been employed in positions similar to

   Plaintiff, have performed work similar to Plaintiff, and have been subject to

   compensation practices similar to those to which Plaintiff have been subjected.

                         COUNT I: FAIR LABOR STANDARDS ACT
                                   UNPAID OVERTIME

          81.    Plaintiff realleges and incorporates by reference all allegations in all

   preceding paragraphs.

          82.    At all relevant times, Defendants have required Plaintiff and the Collective

   Members to perform labor each shift while not clocked in (“off-the-clock”). This practice

   most commonly, though not exclusively, occurred when Plaintiff and the Collective

   Members have neared 40 hours worked in a given workweek and ostensibly in order to

   avoid paying Plaintiff and the Collective Members overtime.

          83.    During such time, Defendants either did not record, or shaved from

   records, the time that Plaintiff or the Collective Members worked, and Defendants have

   not compensated Plaintiff or the Collective Members for such time that they worked.

          84.    Such a practice by Defendants resulted in Plaintiff and the Collective

   Members not receiving at least one and one-half times their regular rates of pay for all

   hours worked in excess of 40 in a given workweek.



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          85.    As a result, Defendants violated the overtime provisions of the FLSA, 29

   U.S.C. § 207.

          WHEREFORE, Plaintiff, Kathryn Angus, on behalf of himself and all other

   similarly situated persons, respectfully requests that this Court grant relief in Plaintiff’s

   and the Collective Members’ favor, and against Defendants for compensation for unpaid

   overtime wages, plus an additional equal amount as liquidated damages, prejudgment

   and post-judgment interest, reasonable attorneys’ fees, costs, and disbursements of this

   action, and any additional relief this Court deems just and proper.

                                     JURY TRIAL DEMAND

          Plaintiffs demand a jury on all issues so triable.

          RESPECTFULLY SUBMITTED this October 23, 2019.

                                               BENDAU & BENDAU PLLC

                                               By: /s/ Clifford P. Bendau, II
                                               Clifford P. Bendau, II
                                               Christopher J. Bendau
                                               BENDAU & BENDAU PLLC
                                               P.O. Box 97066
                                               Phoenix, Arizona 85060
                                               Telephone: (480) 382-5176
                                               Fax: (480) 304-3805
                                               Email: cliffordbendau@bendaulaw.com
                                                       chris@bendaulaw.com
                                               THE LAW OFFICES OF SIMON & SIMON
                                               By: /s/ James L. Simon
                                               James L. Simon (OH No. 0089483)
                                               6000 Freedom Square Dr.
                                               Independence, OH 44131
                                               Telephone: (216) 525-8890
                                               Facsimile: (216) 642-5814
                                               Email: jameslsimonlaw@yahoo.com
                                               Attorneys for Plaintiff




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